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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                             FORT PIERCE DIVISION
                         CASE NO . 12-14087-CR -GRAHAM

  UN ITED STATES OF AMERICA

                     Plaintiff,

  VS .

  MA REYNA MARTINEZ-ARRIOLA ,

                     Defendant .
                                       /

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          THIS CAUSE came before the Court upon the Defendant 's
  request to enter a plea of guilty before a Magistrate Judge .
          THE MATTER was referred to Magistrate Judge Frank               Lynch , on
  December l8, 2012 . A Report and Recommendation filed on December
  28 , 2012 recommended         that       the Defendant 's plea of gu ilty be
  accepted . The Defendant and              the Government were afforded the
  opportunity to file objections to the Report and Recommendation,
  however, none were filed . The Court has conducted a de novo review
  of the entire file . Accordingly ,              is
           ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Frank                 Lynch , is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to the sole Count of the Information .
          DONE AND ORDERED in Chambers at Fort Pierce , Florida , this
    7ytday of aanuary , 2oz3 .
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                                              DONALD L . GRAHAM
                                              UNITED STATES DISTR ICT JUDGE

  Cop ied : Magistrate Judge Frank J . Lynch
            Counsel of record
